Case 2:22-cv-03249-RGK-E Document 1-3 Filed 05/12/22 Page 1 of 21 Page ID #:26




                       EXHIBIT A
                                                               Chung Decl Ex A - 001
Case 2:22-cv-03249-RGK-E Document 1-3 Filed 05/12/22 Page 2 of 21 Page ID #:27

                                                                           Service of Process
                                                                           Transmittal
                                                                           01/10/2022
                                                                           CT Log Number 540860114
   TO:     Brenda Dalusong
           NBCUniversal Media, LLC
           100 Universal City Plz # 1280/9
           Universal City, CA 91608-1002

   RE:     Process Served in California

   FOR:    NBCUniversal, LLC (Domestic State: DE)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                  Re: Angel Cirilo // To: NBCUniversal, LLC
   DOCUMENT(S) SERVED:               Summons, Complaint, Statement, Civil Cover Sheet, Notice, Attachment(s)
   COURT/AGENCY:                     Los Angeles County-Superior Court, CA
                                     Case # 20STCV36095
   NATURE OF ACTION:                 Personal Injury - Failure to Maintain Premises in a Safe Condition - 09/23/2018
   ON WHOM PROCESS WAS SERVED:       C T Corporation System, GLENDALE, CA
   DATE AND HOUR OF SERVICE:         By Process Server on 01/10/2022 at 02:03
   JURISDICTION SERVED :             California
   APPEARANCE OR ANSWER DUE:         Within 30 calendar days after this summons and legal papers are served on you
   ATTORNEY(S) / SENDER(S):          Daniel D. Geoulla, Esq.
                                     B & D Law Group, APLC
                                     10700 Santa Monica Blvd., Suite 200
                                     Los Angeles, CA 90025
                                     310-424-5252
   ACTION ITEMS:                     CT has retained the current log, Retain Date: 01/11/2022, Expected Purge Date:
                                     01/16/2022

                                     Image SOP

                                     Email Notification, Brenda Dalusong Brenda.Dalusong@nbcuni.com

                                     Email Notification, Daniel Kummer Daniel.Kummer@nbcuni.com

                                     Email Notification, Erik Bierbauer Erik.Bierbauer@nbcuni.com

                                     Email Notification, Jorge Mendez Jorge.Mendez@nbcuni.com

                                     Email Notification, Ryan Waters ryan.waters@universalorlando.com

                                     Email Notification, Shannon Alexander shannon.alexander@nbcuni.com

                                     Email Notification, Ted Ragsac ted.ragsac@nbcuni.com

                                     Email Notification, Vivian Volker Vivian.Volker@UniversalOrlando.com




                                                                           Page 1 of 2 / NM




                                                                                                Chung Decl Ex A - 002
Case 2:22-cv-03249-RGK-E Document 1-3 Filed 05/12/22 Page 3 of 21 Page ID #:28

                                                                                                       Service of Process
                                                                                                       Transmittal
                                                                                                       01/10/2022
                                                                                                       CT Log Number 540860114
   TO:         Brenda Dalusong
               NBCUniversal Media, LLC
               100 Universal City Plz # 1280/9
               Universal City, CA 91608-1002

   RE:         Process Served in California

   FOR:        NBCUniversal, LLC (Domestic State: DE)




                                                     Email Notification, Kimberly Andrick kimberly_andrick@comcast.com

                                                     Email Notification, Michael Dickert michael_dickert@comcast.com

                                                     Email Notification, Deborah Saunders deborah_saunders@comcast.com

   REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                     330 N BRAND BLVD
                                                     STE 700
                                                     GLENDALE, CA 91203
                                                     877-564-7529
                                                     MajorAccountTeam2@wolterskluwer.com
   The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
   relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
   of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
   advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
   therein.




                                                                                                       Page 2 of 2 / NM




                                                                                                                                   Chung Decl Ex A - 003
    Case 2:22-cv-03249-RGK-E Document 1-3 Filed 05/12/22 Page 4 of 21 Page ID #:29


                                                                  Wolters Kluwer

                           PROCESS SERVER DELIVERY DETAILS




Date:                         Mon, Jan 10, 2022

Server Name:                  Victor Mendez




Entity Served                 NBCUNIVERSAL, LLC                                            •

Case Number                   2051CV36095

J urisdiction                 CA




  1 1 1111111111111111111111111111                11




                                                                   Chung Decl Ex A - 004
                  Case 2:22-cv-03249-RGK-E Document 1-3 Filed 05/12/22 Page 5 of 21 Page ID #:30
 Electronically FILED by Superior Court of California, County of Los Angeles on 09/22/20�i�rcV:3�<r�rri R. Carter, Executive Officer/Cieri< of Court, by R. Perez.Deputy Cieri<

                                                                                                                                                                            SUM-100.
                                                           SUMMONS                                                                             FOR COURT USE ONLY
                                                                                                                                           (SOLO PARA USO DE LA CORTE)
                                                    (CITACION JUDICIAL)
            NOTICE TO DEFENDANT:
            (A VISO AL DEMANDADO):
            NBCUniversal Theme Park; NBCUniversal, LLC; Universal
            Studios; Comcast Corporation; and Does 1 to 100, inclusive
            YOU ARE BEING SUED BY PLAINTIFF�
            (LO ESTA DEMANDANDO EL DEMANDANTE):
            Angel Cirilo

             NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
             below.
                You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
             served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
             case. There may be a court fom, that you can use for your response. You can find these court fom,s and more infom,ation at the California Courts
             Online Self-Help Center (www.courtinfo.ca.gov/se/fhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
             the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
             may be taken without further warning from the court.
                There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
             referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
             these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
             (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
             costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
             1AVISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a
             continuaci6n.
                Tiene 30 DIAS DE CALENDAR/0 despues de que le entreguen esta citaci6n y papeles legates para presentar una respuesta por escrito en esta
             corte y hacer que se entregue una copia al demandante. Una carta o una 1/amada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
             en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
             Puede encontrar estos formularios de la corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.govJ, en la
             biblioteca de /eyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte
             que le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la carte le
             podra quitar su sue/do, dinero y bienes sin mas advertencia.
               Hay otros requisitos legates. Es recomendable que flame a un abogado inmediatamente. Si no conoce a un abogado, puede 1/amar a un seNicio de
             remisi6n a abogadr:Js. Si no puede pagar a un abogado, es posible que cumpla con /os requisitos para obtener seNicios legates gratuitos de un
             programa de seNicios legates sin fines de /ucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal SeNices,
             (www.lawhelpcalifomia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.govJ o poniendose en contacto con la corte o el
             co/egio de abogados locales. AV/SO: Por ley, la corte tiene derecho a recfamar las cuotas y los costos exentos por imponer un gravamen sobre
             cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
             pagar el gravamen de fa carte antes de que la corte pueda desechar el caso.
            The name and address of the court is:                                                                             CASE NUMBER:
                                              Los Angeles County Superior Court
             ( l nombre y direcci6n de la corte es):
             E
                                                                                                                              (Numero de/ Caso/:


            Central District - Spring Street Courthouse                                                                          2 OST CV 3 6 09 5
            312 North Spring Street, Los Angeles, CA 90012                                          Sherri R. Carter Executive Officer I Clerk of Court
            The name, address, and telephone number of plaintiffs attorney, or plaintif f without an attorney, is:
             ( l nombre, la direcci6n y el numero de telefono def abogado def demandante, o def demandante que no tiene abogado, es):
             E
            Daniel D. Geoulla, Esq. (SBN: 255800), B & D LAW GROUP, APLC.
            10700 Santa Monica Blvd., Suite 200, Los Angeles, California 90025 P: (310)424-5252
            DATE:                                                Clerk, by                                                                                                  , Deputy
             ( echa) 0 9122/2 0 20
             F                                                    (Secretario)         R. Perez                                                                               (Adjunto)
             (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
             (Para prueba de entrega de esta citati6n use el formulario Proof of Service of Summons, (POS-010)).
                                               NOTICE TO THE PERSON SERVED: You are served
                                               1.      as an individual defendant.
____,�A�1�if�1�. ��
              ISEALJ
                                                           D
                                                       a the person sued unde� the fictitious name of _(s_pe
                                                                                                           _ c_ ,_·tr._1_: __________________
                                                        �


               {�                          •i\
                                           ,s_i'.
                                                      3. [X] on behalf of (specify):

                                                           under:   0 CCP 416.10 (corporation)
                                                                                              NBCUniversal, LLC
                                                                                                                                         CCP 416.60 (minor)
                \�
               \5.
               ·•
                 , , · ,���v·              r.;r,f                   D
                                                                                  :�::!�
                                                                                                           0
                                                                                                           D                             CCP 416.70 (conservatee)

                                    v                                            ��::����t:� i:::;�ership) D                             CCP 416.90 (authorized person)
                                                                                             P
                                                                    D ��:
                                                                 [xJ other (specify): LLC
                                                      4.   D    by personal delivery on (date):
                                                                                                                                                                                Pa e 1 of 1
             Fann Adopted for Mandatory Use
               Judicial Council of California
                                                                                         SUMMONS                                                     Code of Civil Procedure§§ 412.20, 465
                                                                                                                                                                       www.courl.info.ca.gov
               SUM-100'�.'Jtl1Y'. 2009)                                                                                                            Chung DeclAmerican
                                                                                                                                                              Ex A - LegalNet,
                                                                                                                                                                      005 Inc.
                                                                                                                                                                 www.FonnsWorkflow.com
                  Case
Electronically FILED        2:22-cv-03249-RGK-E
                     by Superior                                       Document
                                 Court of California, County of Los Angeles on 09/22/20201-3
                                                                                         01:15 PMFiled
                                                                                                  Sherri R.05/12/22
                                                                                                            Carter, Executive Page      6 ofofCourt,
                                                                                                                              Officer/Clerk     21 by R.
                                                                                                                                                      Page      ID #:31
                                                                                                                                                         Perez,Deputy Clerk
                                                                                       20STCV36095
                                           Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Edward Moreton
                                                                                                                                                                   PLD-PI-001
            ATTORNEY OR PARTY WITHOUT ATTORNEY(Name, State Bar number, and address):                                                        FOR COURT USE ONLY
             Daniel D. Geoulla, Esq., SBN: 255800
             B & D LAW GROUP,APLC.
              10700 Santa Monica Blvd., Suite 200
             Los Angeles, CA 90025
                     TELEPHONE NO: (310)424-5252             FAX NO.(Optional)
                                                                               (310)492-5855
           E-MAIL ADDRESS (Optional): daniel@bdinjurylawgroup.com

              ATTORNEY FOR (Name): Plaintiff, Angel Cirilo

           SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles - Central District
                   STREET ADDRESS:
                                      312 North Spring Street
                  MAILING ADDRESS:
                                      312 North Spring Street
                 CITY AND ZIP CODE:
                                      Los Angeles, 90012
                      BRANCH NAME:
                                      Spring Street Courthouse
                       PLAINTIFF: Angel Cirilo

                      DEFENDANT: NBCUniversal Theme Park; NBCUniversal, LLC;
                                         Universal Studios; Comcast Corporation; and Does 1 to
                                         100, inclusive
             COMPLAINT—Personal Injury, Property Damage, Wrongful Death
                 -
                 1 1 AMENDED (Number):
             Type (check all that apply):
            I I MOTOR VEHICLE rg-I OTHER (specify):Premises Liability
                       Property Damage          Wrongful Death
                 FX-I Personal Injury     1-X-I Other Damages (specify):According to Proof At Trial
            J urisdiction (check all that apply):                                                                              CASE NUMBER:
           F 1 ACTION IS A LIMITED CIVIL CASE
                   Amount demanded I—I does not exceed $10,000
                                               exceeds $10,000, but does not exceed $25,000
            rxi    ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)                                                          208T0V36095
           -
           I I ACTION IS RECLASSIFIED by this amended complaint
                 = from limited to unlimited
                  I—I from unlimited to limited
           1. Plaintiff(name or names):Angel Cirilo
              alleges causes of action against defendant(name or names): NBCUniversal Theme Park; NBCUniversal, LLC;
               Universal Studios; Comcast Corporation; and Does 1 to 100, inclusive.
          2. This pleading, including attachments and exhibits, consists of the following number of pages: 5
          3. Each plaintiff named above is a competent adult
             a. I—I except plaintiff(name):
                     (1) I= a corporation qualified to do business in California
                     (2)         an unincorporated entity (describe):
                     (3)       I a public entity (describe):
                      (4)        a minor ni an adult
                                (a) F-1 for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                                (b) I—I other (specify):
                      (5) ni other (specify):
               b. F-7 except plaintiff(name):
                     (1) 1
                         -1 a corporation qualified to do business in Califomia
                     (2)=an unincorporated entity (describe):
                     (3) LIII a public entity (clescribe):__.    _ _
                     (4) I—I a minor            an adult
                              (a) I—I for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                              (b) ni other (specify):
                     (5)       other (specify):

                       Information about additional plaintiffs who are not competent adults is shown in Attachment 3.                                                      Page 1 of 3
            Form Approved for Optional Use                                                                                                            Code of Civil Procedure, § 425.12
              Judicial Council of California
                                                                  COMPLAINT—Personal Injury, Property                                                              www.courtinto.ca.gov
           PLD-PI-001 [Rev. January 1,2007]                            Damage, Wrongful Death
                                                                                                                                                            American LegalNet,'Inc.
                                                                                                                                                            www.FormsWorld/ow.com
                                                                                                                                               Chung Decl Ex A - 006
       Case 2:22-cv-03249-RGK-E Document 1-3 Filed 05/12/22 Page 7 of 21 Page ID #:32

                                                                                                                                PLD-PI-001
  SHORT TITLE:                                                                                    CASE NUMBER:


 Angel Cirilo v. NBCUniversal Theme Park, et al.

4. El Plaintiff(name):
            is doing business under the fictitious name (specify):

        and has complied with the fictitious business name laws.
5. Each defendant named above is a natural person
   a. ES3 except defendant(name):NBCUniversal Theme Park c. 17-1 except defendant(name): Universal Studios
          (1)        [xi
                    a business organization, form unknown        (1) 71 a business organization, form unknown
          (2)- I 1 a corporation                                 (2) I—I a corporation
          (3)       an unincorporated entity (describe):         (3)      an unincorporated entity (describe):

               (4)    in a public entity (describe):                                (4) 1---1 a public entity (describe):

               (5) I          other (specify):                                      (5)      I other (specify):




     b. FRI except defendant(name):NBCUniversal, LLC                        d. 1X1 except defendant (name): COMCaSt Corporation
               (1) 1    a business organization, form unknown                     (1) -
                                                                                      1 7- a business organization, form unknown
               (2)      a corporation                                             (2) 15C1 a corporation
               (3) 15(1 an unincorporated entity (describe):                      (3)       an unincorporated entity (describe):
                             a limited liability company
                (4) 1         a public entity (describe):                           (4) I—I a public entity (describe):

                (5) I       I other (specify):                                                 other (specify):


  e. Plaintiff is further informed and believes and thereon alleges that defendants, and each of them, are agents,
  employers, owners, managers, partners,joint-venturers, successors, and/or alter-egos of one another; a unity
  ofinterests exists among defendants and to adhere to the fiction of their separate existence would sanction a
  fraud and promote injustice.

6.     The true names of defendants sued as Does are unknown to plaintiff.
       a. 1-X1 Doe defendants (specify Doe numbers): DOES 1 through 50               were the agents or employees of other
               named defendants and acted within the scope of that agency or employment.
       b. FXI Doe defendants (specify Doe numbers): DOES 51               through 100 are persons whose capacities are unknown to
              plaintiff.
7.             Defendants who are joined under Code of Civil Procedure section 382 are (names):




8.     This court is the proper court because
       a. L J at least one defendant now resides in its jurisdictional area.
       b.   r---1
                the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
       c. 1—K1 injury to person or damage to personal property occurred in its jurisdictional area.
       d. F-1 other (specify):


9.     1---1 Plaintiff is required to comply with a claims statute, and
        a.        has complied with applicable claims statutes, or
        b. r--1 is excused from complying because (specify):


PLD-PI-001 [Rev. January 1,2007]                     COMPLAINT—Personal Injury, Property                                             Page 2 of 3

                                                          Damage, Wrongful Death

                                                                                                                  Chung Decl Ex A - 007
      Case 2:22-cv-03249-RGK-E Document 1-3 Filed 05/12/22 Page 8 of 21 Page ID #:33

                                                                                                                                 PLD-PI-001
SHORT TITLE:                                                                                     CASE NUMBER:


Angel Cirilo v. NBCUniversal Theme Park, et al.

10. The following causes of action are attached and the statements above apply to each (each complaint must have one or more
    causes of action attached):
    a. -1 1 Motor Vehicle
     b. [XI General Negligence ,Negligent Supervision, Negligent Hiring, Negligent Retention, Negligent Training
    c. 1-1 Intentional Tort
    d. I—I Products Liability
    e. 1X1 Premises Liability
    f. I—I Other (specify):




1 1. Plaintiff has suffered
     a. EK] wage loss
     b. ni loss of use of property
     c. (XI hospital and medical expenses
     d. 1-7-1 general damage
     e.         property damage
     f. FX1 loss of earning capacity
     g. Egj other damage (specify): According to Proof




12. -
    1     1 The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
     a. -I 1 listed in Attachment 12.
         I 1 as follows:
      b. -




13.. The relief sought in this complaint is within the jurisdiction of this court.
       Plaintiffs Damages and Demand for Relief exceeds $25,000.00.

14. Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for
    a. (1) rgl compensatory damages
       (2)- I 1 punitive damages
        The amount of damages is (in cases for personal injury or wrongful death, you must check (1)):
       (1) DTI according to proof
       (2)- I   1 in the amount of: $

15. [xi The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):
               5,6, 8, L1-L5, GN-1


Date: 9/21/2020

Daniel D. Geoulla, Esq.
                              (TYPE OR PRINT NAME)                                        (SIGNATURE 0   LAINTIFF OR ATTORNEY)

PLD-PI-001 [Rev. January 1, 2007]                    COMPLAINT—Personal Injury, Property                                             Page 3 of 3

                                                          Damage, Wrongful Death

                                                                                                                Chung Decl Ex A - 008
      Case 2:22-cv-03249-RGK-E Document 1-3 Filed 05/12/22 Page 9 of 21 Page ID #:34

                                                                                                                                            PLD-PI-001(4)
 SHORT TITLE:                                                                                             CASE NUMBER:


Angel Cirilo v. NBCUniversal Theme Park, et al.

        First                                     CAUSE OF ACTION—Premises Liability                                               Page         4 of5
                       (number)
        ATTACHMENT TO         X Complaint                Cross - Complaint
       (Use a separate cause of action form for each cause of action.)

         Prem.L-1. Plaintiff(name): Angel Cirilo
                     alleges the acts of defendants were the legal (proximate) cause of damages to plaintiff.
                     On (date):         or about 9/23/2018              plaintiff was injured on the following premises in the following

                        fashion (description of premises and circumstances of injury):
              Plaintiff was lawfully on Defendants' premises, located at or about 100 Universal City Plaza,
         Universal City, CA 91308, when suddenly and without notice, Plaintiff was struck on the head by a
         tram door that was shut by a park employee operating the tram. The tram doors, its operation, and its
         design constituted a dangerous condition, use, structure, and/or activity. Defendants breached their duty
         to Plaintiff by failing to address, alleviate, remove and/or remedy the defective and dangerous condition,
         use, structure, and/or activity on Defendants' premises, and by failing to warn their customers, including
         Plaintiff, of the presence of such a dangerous condition, use, structure, and/or activity, despite having
         adequate time and notice to do so. This conduct by Defendants, and each of them, caused Plaintiff to
         suffer severe injuries for which he received reasonable and necessary medical care and treatment.
               Moreover, pursuant to Civil Code §2100, et seq., as common carriers the operators of tram had a
         mandatory duty to to use the utmost care and diligenece for Plaintiffs safe carriage and to ensure that
         the vehicles were safe and hazard free and were being operated in a safe and hazard free manner, and
         that Defendants breached these duties.
         Prem.L-2.           I   x    Count One—Negligence The defendants who negligently owned, maintained, managed and operated the
                                      described premises were (names): NBCUniversal Theme Park; NBCUniversal, LLC;
                                      Universal Studios; Comcast Corporation; and Does 1 to 100, inclusive.
         Prem.L-3.           = Count Two—Willful Failure to Warn [Civil Code section 846)The defendant owners who willfully or
                               maliciously failed to guard or warn against a dangerous condition, use, structure, or activity were (names):

                                      Plaintiff, a recreational user, was = an invited guest = a paying guest.
         Prem.L-4.                    Count Three—Dangerous Condition of Public Property The defendants who owned public property
                                      on which a dangerous condition existed were (names):

                                      a.        The defendant public entity had = actual = constructive notice of the existence of the
                                                dangerous condition in sufficient time prior to the injury to have corrected it.
                                      b.      I The condition was created by employees of the defendant public entity.

         Prem.L-5. a.        171 Allegations about Other Defendants The defendants who were the agents and employees of the other
                                      defendants and acted within the scope of the agency were (names): NBCUniversal Theme Park;
                                      NBCUniversal, LLC; Universal Studios; Comcast Corporation; and Does 1 to 100,
                                      inclusive.
                        b.       X    The defendants who are liable to plaintiffs for off-ler-re-a—s-o—nand the reasons for their liability are
                                      L J described in attachment Prem.L-5.b X as follows (names):Defendants have failed to
                                     adequately disclose information and thus the true names and identities of Does 1 through
                                     100 are presently unknown to Plaintiff. Plaintiff is informed and believes and thereon
                                     alleges that each such Defendant is in some way responsible and liable for the events or
                                     happenings alleged in this Complaint.                                                Page lot 1
  Form Approved for Optional Use
    Judicial Council of California
                                                   CAUSE OF ACTION—Premises Liability                                             Code of Civil Procedure, § 425.12
                                                                                                                                               www.courfinfo.ca.gov
PLD-PI-001(4)[Rev. January 1,2007]


                                                                                                                             Chung Decl Ex A - 009
     Case 2:22-cv-03249-RGK-E Document 1-3 Filed 05/12/22 Page 10 of 21 Page ID #:35

                                                                                                                               PLD-PI-001(2)
  SHORT TITLE:                                                                                   CASE NUMBER:


 Angel Cirilo v. NBCUniversal Theme Park, et al.

         Second                                  CAUSE OF ACTION—General Negligence                                      Page          5 of 5
                        (number)

          ATTACHMENT TO                1-X1   Complaint El Cross - Complaint

        (Use a separate cause of action form for each cause of action.)

          GN-1. Plaintiff (name):        Angel Cirilo
                    alleges that defendant (name):     NBCUniversal Theme Park; NBCUniversal, LLC; Universal Studios;
                                                      -Comcast Corporation; and Does 1 to 100, inclusive.



                    was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant
                    negligently caused the damage to plaintiff
                    on (date):       or about 9/23/2018
                    at (place):      or about: 100 Universal City Plaza, Universal City, CA 91608
                   (description of reasons for liability):

                    1)Defendants so negligently owned, operated, maintained, entrusted, and/or controlled the
                    subject premises. Furthermore, Defendants so negligently hired, trained, supervised, and
                    retained their workers.
                    2)Moreover, pursuant to Civil Code §2100, et seq., as common carriers the operators of
                    tram had a mandatory duty to to use the utmost care and diligenece for Plaintiffs safe
                    carriage and to ensure that the vehicles were safe and hazard free and were being operated
                    in a safe and hazard free manner, and that Defendants breached these duties.
                    3)Defendants owed Plaintiff a legal duty or duties. Defendants breached their duty or
                    duties to Plaintiff.
                    4)As a result, Defendants actually and proximately caused the Plaintiff personal injuries
                    and damages in an amount according to proof at trial.
                    5)Plaintiff is further informed and belives and thereon alleges that Defendants were
                    subject to and violated, ADA,California Health & Safety Codes, building codes, and/or
                    ordinances and these violations actually and legally caused Plaintiffs damages, the
                    occurrence resulting in the damages was of a nature that the regulation was designed to
                    prevent and Plaintiff was among the class of persons for whose protection the regulation
                    was adopted for.
                    6)By reason-of-the-foregoing-,-DefendantsTand-each-of-themTare-lia:b1-e-for, and Plaintiff is
                    entitled to recover, Plaintiffs general, special, actual, and compensatory damages,
                    including but not limited to, Plaintiffs necessary medical and related expenses, past,
                    present and future lost earnings, loss of future earning capacity, as well as mental,
                    emotional, and physical pain and suffering, in an amount according to proof at trial.
                                                                                                                                          Page lot 1
  Form Approved for Optional Use                                                                                        Code of Civil Procedure 425.12
    Judicial Council of California              CAUSE OF ACTION—General Negligence                                                www.courtinfo.ce.gov
PLD-PI-001(2)[Rev. January 1,2007]



                                                                                                                Chung Decl Ex A - 010
              Case 2:22-cv-03249-RGK-E Document 1-3 Filed 05/12/22 Page 11 of 21 Page ID #:36




                             Daniel D. Geoulla, Esq.(SBN: 255800)
                         1   Michael B. Geoola, Esq.(SBN: 235365)
                        2    B & D LAW GROUP,APLC.
                             10700 Santa Monica Blvd., Suite 200
                        3    Los Angeles, California 90025
                             Telephone: (310)424-5252
                        4    Facsimile: (310)492-5855
                             Attorneys for Plaintiffs,
                        5
                             Angel Cirilo
                        6

                        7                   SUPERIOR COURT OF THE STATE OF CALIFORNIA

                        8                FOR THE COUNTY OF LOS ANGELES - CENTRAL DISTRICT
                        9
                                                        SPRING STREET COURTHOUSE
                        10
                             ANGEL CIRILO,                                CASE NO.20STCV36095
                        11
                                          Plaintiff,                      STATEMENT OF DAMAGES
                        12
                                   vs.                                   [C.C.P. §425.11,425.115]
      0                 13
      0


                        14   NBCLINIVERSAL THEME PARK,and
o     DE.- NV)
                             DOES 1 to 100, inclusive.
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      >                                   Defendants.
        cf, ),          16
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      C1¢ (-)           17         TO DEFENDANT AND ALL PARTIES HEREIN AND TO THEIR ATTORNEYS OF
               (0" o
      o '-'             18
                t3           RECORD:
1 1
                        19         PLEASE TAKE NOTICE Plaintiff ANGEL CIRILO seeks the following general and
            0
      cw,
      0                 20
      0                      special damages:
                        21                Special Damages:           $ 2,000,000.00
                        22                General Damages:           $ 3,000,000.00
                        23

                        24   DATED: January 5, 2022                  B & D LAW GROUP,APLC.
                        25

                        26                                     By:
                                                                     Daniel D. Geoulla, Esq.
                        27                                           Attorneys for Plaintiffs,
                                                                     Angel Cirilo
                        28


                                                             STATEMENT OF DAMAGES                Chung Decl Ex A - 011
                 Case 2:22-cv-03249-RGK-E Document 1-3 Filed 05/12/22 Page 12 of 21 Page ID #:37
Electronically FILED by Superior Court of California, County of Los Angeles on 09/22/20Ng1rtlAPJE109m R. Carter, Executive Officer/Clerk of Court, by R. Perez,Deputy
                                                                                                                                                                                CM-010
            ATTORNEY OR PARTY WITHOUT ATTORNEY(Name, State Bar number, and address):                                                            FOR COURT USE ONLY
          — Daniel D. Geoulla, Esq., SBN: 255800
            B & D LAW GROUP,APLC.
            10700 Santa Monica Blvd., Suite 200, Los Angeles, CA 90025
                   TELEPHONE NO.:     (310)424-5252                       FAX NO.:   (310)492-5855
            ATTORNEY FOR (Name):      Plaintiff, Angel Ciriln
          SUPERIOR COURT OF CALIFORNIA, COUNTY OF      Los Angeles - Central District
                 STREET ADDRESS:
                                       312 North Spring Street
                 MAILING ADDRESS:
                                       312 North Spring Street
                CITY AND ZIP CODE:     Los Angeles, 90012
                    BRANCH NAME:       Spring Street C,nitrthnttge
             CASE NAME:
          Angel Cirilo v. NBCUniversal Theme Park, et al.
                                                                                                                             CASE NUMBER:
                 CIVIL CASE COVER SHEET                                       Complex Case Designation
             X     Unlimited                 LII Limited
                                                                 Counter             Joinder
                                                                                                                                  2os-r CV 36095
                  (Amount           (Amount
                                                                                                   JUDGE:
                  demanded           demanded is          Filed with first appearance by defendant
                  exceeds $25,000)  $25,000 or less)          (Cal. Rules of Court, rule 3.402)     DEPT:

                                        Items 1-6 below must be completed(see instructions on page 2).
          1. Check one box below for the case type that best describes this case:
               Auto Tort                                              Contract                                      Provisionally Complex Civil Litigation
                                                                                                                    (Cal. Rules of Court, rules 3.400-3.403)
               LIII    Auto (22)                                              Breach of contract/warranty (06)
               El      U• ninsured motorist(46)                       I 1 Rule 3.740 collections(09)
                                                                      =                                              LIII    Antitrust/Trade regulation (03)
               Other PI/PD/WD (Personal Injury/Property              = Other collections (09)                               Construction defect (10)
               Damage/Wrongful Death) Tort                           = Insurance coverage (18)                               Mass tort (40)
               -
               I I   A• sbestos(04)
                                                                     El Other contract(37)                                   Securities litigation (28)
               ri P• roduct liability(24)                            Real Property                                   1E1     Environmental/Toxic tort(30)
               ri M• edical malpractice(45)                          -
                                                                     1   1 Eminent domain/Inverse                    LII     Insurance coverage claims arising from the
               FRI Other PI/PD/WD (23)                                     condemnation (14)                                 above listed provisionally complex case
                                                                                                                             types(41)
               Non-Pl/PD/WD (Other) Tort                             n Wrongful eviction (33)
               = Business tort/unfair business practice (07)       Other real property(26)                           Enforcement of Judgment
               = Civil rights (08)                           Unlawful Detainer                                       1 1 E• nforcement of judgment(20)
                                                                                                                     -
               = Defamation (13)                             = Commercial (31)                                       Miscellaneous Civil Complaint
               = Fraud (16)                                          = Residential (32)                             LIII RICO (27)
               = Intellectual property (19)                          = Drugs (38)                                   -
                                                                                                                    1 1 O• ther complaint(not specified above)(42)
               = Professional negligence (25)                        Judicial Review                                 Miscellaneous Civil Petition
               = Other non-PUPD/WD tort(35)                          = Asset forfeiture (05)
                                                                                                                    •        P• artnership and corporate governance (21)
               Employment                                            = Petition re: arbitration award (11)
                                                                                                                     ✓i O•     ther petition (not specified above)(43)
               ri   W• rongful termination (36)                      = writ of mandate (02)
               ri O•     ther employment(15)                         = Other judicial review (39)
          2. This case         -
                               1 1 is           I >1
                                              is not    complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
                factors requiring exceptional judicial management:
                a. E] Large number of separately represented parties          d. LII Large number of witnesses
                b. LII Extensive motion practice raising difficult or novel e.         Coordination with related actions pending in one or more courts
                         issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
                c. LI Substantial amount of documentary evidence              f. LI Substantial postjudgment judicial supervision
          3.    Remedies sought (check all that apply): a. X monetary b.      [T nonmonetary; declaratory or injunctive relief                                      c. =punitive
          4.    Number of causes of action (specify): 2
          5.    This case       FTis     X is not a class action suit.
          6.    If there are any known related cases, file and serve a notice of related case.(You may use form CM-015.)
          Date':)/21/2020
          Daniel-D. GeoullaTEsq.
                                         (TYPE OR PRINT NAME)                                                      (SIGNATURE OF P         OR ATTORNEY FOR PARTY)
                                                                                 NOTICE
            • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
              under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
              in sanctions.
            • File this cover sheet in addition to any cover sheet required by local court rule.
            • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
              other parties to the action or proceeding.
            • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                 Page 1 of 2
          Form Adopted for Mandatory Use                                                                                          Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740:
            Judicial Council of California
                                                                      CIVIL CASE COVER SHEET                                              Cal. Standards of Judicial Administration, std. 3.10
            CM-010[Rev. July 1,2007)
                                                                                                                                                  Chung Decl Ex A - 012 www.courtinfo.ca.gov
     Case 2:22-cv-03249-RGK-E Document 1-3 Filed 05/12/22 Page 13 of 21 Page ID #:38
      _                                                                                                                              CM-010
                                  INSTRUCTIONS-ON -HOW TO COMPLETE THE COVER SHEET -
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorneys fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES    AND EXAMPLES
Auto Tort                                       Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property             Breach of ContractNVarranty(06)                Rules of Court Rules 3.400-3.403)
          DamageNVrongful Death                         Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist(46)(if the                           Contract (not unlawful detainer            Construction Defect(10)
          case involves an uninsured                             or wrongful eviction)                  Claims Involving Mass Tort(40)
          motorist claim subject to                     ContractNVarranty Breach—Seller                 Securities Litigation (28)
          arbitration, check this item                       Plaintiff (not fraud or negligence)        Environmental/Toxic Tort(30)
          instead of Auto)                              Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                             Warranty                                      (arising from provisionally complex
Property Damage/Wrongful Death)                         Other Breach of ContractNVarranty                   case type listed above)(41)
Tort                                                Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos(04)                                       book accounts)(09)                              Enforcement of Judgment(20)
          Asbestos Property Damage                      Collection Case—Seller Plaintiff                    Abstract of Judgment(Out of
                                                        Other Promissory Note/Collections                         County)
          Asbestos Personal Injury/
               Wrongful Death                                Case                                           Confession of Judgment(non-
                                                    Insurance Coverage (not provisionally                         domestic relations)
     Product Liability (not asbestos or
          toxic/environmental)(24)                      complex)(18)                                        Sister State Judgment
     Medical Malpractice (45)                           Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice—                          Other Coverage                                         (not unpaid taxes)
                Physicians & Surgeons               Other Contract(37)                                      Petition/Certification of Entry of
          Other Professional Health Care                Contractual Fraud                                       Judgment on Unpaid Taxes
                Malpractice                             Other Contract Dispute                              Other Enforcement of Judgment
                                                Real Property                                                     Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip            Eminent Domain/Inverse                          Miscellaneous Civil Complaint
               and fall)                                Condemnation (14)                               RICO (27)
          Intentional Bodily Injury/PD/WD           Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                            above)(42)
               (e.g., assault, vandalism)           Other Real Property (e.g., quiet title)(26)
          Intentional Infliction of                                                                         Declaratory Relief Only
                                                        Writ of Possession of Real Property                  Injunctive Relief Only (non-
                Emotional Distress                      Mortgage Foreclosure
          Negligent Infliction of                                                                                 harassment)
                                                        Quiet Title
                Emotional Distress                                                                           Mechanics Lien
                                                        Other Real Property (not eminent
          Other PI/PD/WD                                                                                    Other Commercial Complaint
                                                        domain, landlord/tenant, or
                                                                                                                  Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                               foreclosure)
                                                                                                            Other Civil Complaint
     Business Tort/Unfair Business              U nlawful Detainer
                                                                                                                (non-tort/non-complex)
        Practice (07)                               Commercial(31)
                                                                                                    Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,            Residential (32)                                    Partnership and Corporate
         false arrest)(not civil                    Drugs(38)(if the case involves illegal                   Governance (21)
          harassment)(08)                               drugs, check this item; otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                  report as Commercial or Residential)                above)(43)
          (13)                                  Judicial Review                                             Civil Harassment
     Fraud (16)                                     Asset Forfeiture (05)                                   Workplace Violence
     Intellectual Property(19)                      Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
     Professional Negligence (25)                   Writ of Mandate(02)                                           Abuse
         Legal Malpractice                              Writ—Administrative Mandamus                        Election Contest
         Other Professional Malpractice                 Writ—Mandamus on Limited Court                      Petition for Name Change
            (not medical or legal)                          Case Matter                                     Petition for Relief From Late
      Other Non-PI/PD/WD Tort(35)                       Writ—Other Limited Court Case                             Claim
Employment                                                  Review                                          Other Civil Petition
     Wrongful Termination (36)                      Other Judicial Review (39)
     Other Employment(15)                               Review of Health Officer Order
                                                        Notice of Appeal—Labor
                                                            Commissioner Appeals
CM-010 [Rev. July 1.20071                                                                                                              Page 2 of 2
                                                    CIVIL CASE COVER SHEET
                                                                                                                 Chung Decl Ex A - 013
                 Case
Electronically FILED       2:22-cv-03249-RGK-E
                     by Superior                                       Document
                                 Court of California, County of Los Angeles on O9/22/2OJ1-3 .fl(j&rri
                                                                                              Filed R.05/12/22
                                                                                                       Carter, ExecutivePage       14ofof
                                                                                                                         Officer/Clerk    21by R.Page
                                                                                                                                       Court,             ID #:39
                                                                                                                                                  Perez,Deputy Clerk




                  SHORT TITLE:                                                                               CASE NUMBER
                 Angel Cirilo v. NBCUniversal Theme Park, et al.                                                        2051- CV361395

                                    CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
                                 (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
        This form is required pursuant to LASC Local Rule 2.0 in all new civil case filings in the Los Angeles Superior Court.
      Item I.    Check the types of hearing and fill in the estimated length of hearing expected for this case:

        JURY TRIAL? X YES                 CLASS ACTION?        YES    LIMITED CASE?           YES     TIME ESTIMATED FOR TRIAL7-10                      HOURS/ X DAYS
      Item II. Select the correct district and courthouse location (4 steps - If you checked "Limited Case", skip to Item III, Pg. 4):
      Step 1: After first completing the Civil Case Cover Sheet Form, find the main civil case cover sheet heading for your case in
      the left margin below, and, to the right in Column A, the Civil Case Cover Sheet case type you selected.
      Step 2: Check one Superior Court type of action in Column B below which best describes the nature of this case.
      Step 3: In Column C, circle the reason for the court location choice that applies to the type of action you have checked.
      For any exception to the court location, see Los Angeles Superior Court Local Rule 2.0.

                                 Applicable Reasons for Choosing Courthouse Location (see Column C below)
             1.   Class Actions must be filed in the County Courthouse, Central District.               6. Location of property or permanently garaged vehicle.
             2.   May be filed in Central (Other county, or no Bodily Injury/Property Damage).          7. Location where petitioner resides.
             3.   Location where cause of action arose.                                                 8. Location wherein defendant/respondent functions wholly.
             4.   Location where bodily injury, death or damage occurred.                               9. Location where one or more of the parties reside.
             5.   Location where performance required or defendant resides.                             10. Location of Labor Commissioner Office.

      Step 4: Fill in the information requested on               page 4 in Item III; complete Item IV. Sign the declaration.

                            A
                 Civil Case Cover Sheet       Type of Action                                                                               Applicable Reasons -
                       Category No.                                              (Check only one)                                           See Step 3 Above

                         Auto (22)                   A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                  1., 2., 4.

                 Uninsured Motorist(46)              A7110 Personal Injury/Property Damage/Wrongful Death - Uninsured Motorist             1., 2., 4.

                                                     A6070 Asbestos Property Damage                                                        2.
                      Asbestos (04)                  A7221 Asbestos - Personal Injury/Wrongful Death                                       2.

                   Product Liability(24)
                                                     A7260 Product Liability (not asbestos or toxic/environmental)                         1., 2., 3., 4., 8.


                                                     A7210 Medical Malpractice - Physicians & Surgeons                                     1., 2., 4.
                 Medical Malpractice (45)
                                                     A7240 Other Professional Health Care Malpractice                                      1., 2., 4.

                                                 X   A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                           1., 2., 4.
                          Other                      A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                      Personal Injury
                                                      assault, vandalism, etc.)
                     Property Damage                                                                                                       1., 2., 4.
                      Wrongful Death                 A7270 Intentional Infliction of Emotional Distress
                                                                                                                                           1., 2., 3.
                          (23)
                                                     A7220 Other Personal Injury/Property Damage/Wrongful Death                            1., 2., 4.

                    Business Tort (07)
                                                     A6029     Other Commercial/Business Tort (not fraud/breach of contract)               1., 2., 3.

                      Civil Rights (08)
                                                     A6005     Civil Rights/Discrimination                                                 1., 2., 3.

                     Defamation (13)
                                                     A6010 Defamation (slander/libel)                                                      1., 2., 3.

                        Fraud (16)                   A6013 Fraud (no contract)
                                                                                                                                           1., 2., 3.




                LACIV 109 (Rev. 01/07)                       CIVIL CASE COVER SHEET ADDENDUM                                                            LASC, rule 2.0
                LASC Approved 03-04                             AND STATEMENT OF LOCATION                                                            Page 1 of 4
                                                                                                                                        Chung Decl Ex A - 014
                      Case 2:22-cv-03249-RGK-E Document 1-3 Filed 05/12/22 Page 15 of 21 Page ID #:40


a)
                      SHORT TITLE:                                                                     CASE NUMBER
03
E
                      Angel Cirilo v. NBCUniversal Theme Park, et al.
>. -ci
   =
0. 0                             A                                                      B                                                            C
00                    Civil Case Cover
8: —                                                                            Type of Action                                           Applicable Reasons
   t                  Sheet Category No.
                                                                               (Check only one)                                          -See Step 3 Above
     o
    1—
*E" .5
                            Professional                                                                                                1., 2., 3.
c71
                                                  A6017 Legal Malpractice
                             Negligence
                                                                                                                                        1., 2., 3.
                                (25)              A6050 Other Professional Malpractice (not medical or legal)
a.
 w
C o
                             Other(35)            A6025 Other Non-Personal Injury/Property Damage tort                                  2.,3.
  Employment




                       Wrongful Termination
                                                  A6037 Wrongful Termination                                                            1., 2., 3.
                              (36)

                         Other Employment
                                                  A6024 Other Employment Complaint Case                                                 1., 2., 3.
                               (15)
                                                  A6109    Labor Commissioner Appeals                                                   10.

                        Breach of Contract/       A6004 Breach of Rental/Lease Contract(not Unlawful Detainer or wrongful eviction)     2., 5.
                            Warranty                      Contract/Warranty Breach -Seller Plaintiff(no fraud/negligence)
                                                  A6008                                                                                 2., 5.
                              (06)
                         (not insurance)          A6019   Negligent Breach of ContractNVarranty(no fraud)                               1., 2., 5.
                                                  A6028   Other Breach of ContractNVarranty (not fraud or negligence)
                                                                                                                                        1., 2., 5.

      48                                          A6002   Collections Case-Seller Plaintiff                                             2., 5., 6.
                             Collections
                               (09)               A6012 Other Promissory Note/Collections Case                                          2., 5.

                        Insurance Coverage
                                                  A6015 Insurance Coverage (not complex)                                                1., 2., 5., 8.
                               (18)

                           Other Contract          A6009 Contractual Fraud                                                              1., 2., 3., 5.
                               (37)
                                                  A6031 Tortious Interference                                                           1., 2., 3., 5.
                                                  A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)                   1., 2., 3., 8.

                             Eminent
                                                  A7300 Eminent Domain/Condemnation             Number of parcels                       2.
                          Domain/Inverse
      Real Property




                         Condemnation (14)

                         Wrongful Eviction
                                                  A6023    Wrongful Eviction Case                                                       2.,6.
                              (33)

                                                  A6018 Mortgage Foreclosure                                                            2., 6.
                        Other Real Property
                               (26)               A6032 Quiet Title                                                                     2., 6.
                                                  A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)
                                                                                                                                        2.,6.

                         Unlawful Detainer-
                                                  A6021 Unlawful Detainer-Commercial(not drugs or wrongful eviction)                    2., 6.
                          Commercial(31)

                         Unlawful Detainer-
                                                  A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)                  2.,6.
                          Residential (32)

                         Unlawful Detainer-
                                                  A6022 Unlawful Detainer-Drugs                                                         2., 6.
                            Drugs(38)

                        Asset Forfeiture (05)     A6108   Asset Forfeiture Case                                                         2.,6.
                        Petition re Arbitration
                                                  A6115 Petition to Compel/ConfirmNacate Arbitration                                    2., 5.
                                (11)



                      LACIV 109(Rev. 01/07)               CIVIL CASE COVER SHEET ADDENDUM                                                    LASC, rule 2.0
                      LASC Approved 03-04                     AND STATEMENT OF LOCATION                                                       Page 2 of 4
                                                                                                                                 Chung Decl Ex A - 015
                                                   Case 2:22-cv-03249-RGK-E Document 1-3 Filed 05/12/22 Page 16 of 21 Page ID #:41


                                                   SHORT TITLE:                                                                        CASE NUMBER

                                                   Angel Cirilo v. NBCUniversal Theme Park, et al.
                   Judicial Review (Coned.)




                                                               A                                                     B                                              C
                                                    Civil Case Cover Sheet                                     Type of Action                           Applicable Reasons -
                                                          Category No.                                        (Check only one)                           See Step 3 Above

                                                                                     A6151 Writ - Administrative Mandamus                              2., 8.
                                                        Writ of Mandate              A6152   Writ - Mandamus on Limited Court Case Matter              2.
                                                             (02)                    A6153   Writ - Other Limited Court Case Review
                                                                                                                                                       2.

                                                     Other Judicial Review
                                                                                     A6150   Other Writ /Judicial Review                               2., 8.
                                                             (39)
                                                                                                          _
                                                        Antitrust/Trade
                                                                                     A6003   Antitrust/Trade Regulation                                1., 2., 8.
                                                        Regulation (03)

                                                    Construction Defect(10)
                                                                                     A6007 Construction defect                                         1., 2., 3.

                                                     Claims Involving Mass
                                                                                     A6006   Claims Involving Mass Tort                                1., 2., 8.
                                                           Tort(40)

                                                    Securities Litigation (28)       A6035 Securities Litigation Case
                                                                                                                                                       1., 2., 8.

                                                          Toxic Tort
                                                                                     A6036 Toxic Tort/Environmental                                    1., 2., 3., 8.
                                                      Environmental (30)

                                                     Insurance Coverage
                                                                                     A6014 Insurance Coverage/Subrogation (complex case only)          1., 2., 5., 8.
                                                     Claims from Complex
                                                          Case(41)

                                                                                     A6141 Sister State Judgment                                       2., 9.
                                                                                     A6160 Abstract of Judgment                                        2., 6.
of Judgment
Enforcement




                                                          Enforcement
                                                          of Judgment                A6107 Confession of Judgment(non-domestic relations)              2., 9.
                                                             (20)                    A6140 Administrative Agency Award (not unpaid taxes)
                                                                                                                                                       2., 8.
                                                                                     A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax
                                                                                                                                                       2., 8.
                                                                                     A6112 Other Enforcement of Judgment Case
                                                                                                                                                       2., 8., 9.
Miscellaneous Civil




                                                           RICO (27)                 A6033 Racketeering (RICO)Case                                     1., 2., 8.

                                                                                     A6030 Declaratory Relief Only                                     1., 2., 8.
                                              03
                                          a           Other Complaints               A6040 Injunctive Relief Only (not domestic/harassment)            2., 8.
                                                    (Not Specified Above)
                                                                                     A6011 Other Commercial Complaint Case (non-tort/non-complex)      1., 2., 8.
                                                             (42)                    A6000 Other Civil Complaint (non-tort/non-complex)                1., 2., 8.

                                                    Partnership Corporation          A6113 Partnership and Corporate Governance Case                   2., 8.
                                                       Governance(21)
 Miscellaneous Civil Petitions




                                                                                     A6121 Civil Harassment                                            2., 3., 9.
                                                                                     A6123 Workplace Harassment                                        2., 3., 9.
                                                                                     A6124 Elder/Dependent Adult Abuse Case                            2., 3., 9.
                                                       Other Petitions
                                                    (Not Specified Above)            A6190 Election Contest
                                                                                                                                                       2.
                                                                                     A6110 Petition for Change of Name
                                                             (43)                                                                                      2., 7.
                                                                                     A6170 Petition for Relief from Late Claim Law
                                                                                                                                                       2., 3., 4., 8.
                                                                                     A6100 Other Civil Petition
                                                                                                                                                       2., 9.




                                                   LACIV 109(Rev. 01/07)         •    CIVIL CASE COVER SHEET ADDENDUM                                           LASC, rule 2.0
                                                   LASC Approved 03-04                  AND STATEMENT OF LOCATION                                               Page 3 of 4
                                                                                                                                                      Chung Decl Ex A - 016
 Case 2:22-cv-03249-RGK-E Document 1-3 Filed 05/12/22 Page 17 of 21 Page ID #:42


 SHORT TITLE:                                                                       CASE NUMBER

Angel Cirilo v. NBCUniversal Theme Park, et al.
Item III. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or
other circumstance indicated in Item II., Step 3on Page 1, as the proper reason for filing in the court location you selected.

          REASON: CHECK THE NUMBER UNDER COLUMN C                    ADDRESS:

                     WHICH APPLIES IN THIS CASE
                                                                    at or near 100 Universal City Plaza

         1.     2.   3.X4. ' 5.   6.   7.    8     9.   10.
 CITY:                              STATE:       ZIP CODE:

Universal City                    CA              91608


Item IV. Declaration of Asaignment: I declare under penalty of perjury under the laws of the State of California that the foregoing is
true and correct and that the above-entitled matter is properly filed for assignment to the Spring Street           courthouse in the
Central                     District of the Los Angeles Superior Court (Code Civ. Proc., § 392 et seq., and LASC Local Rule 2.0,
subds.(b),(c) and (d)).



Dated: 9/21/2020
                                                                                            RE OF ATTORNEY/FILING PARTY)




          PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO
                           PROPERLY COMMENCE YOUR NEW COURT CASE:

     1. Original Complaint or Petition.
     2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
     3. Civil Case Cover Sheet form CM-010.

    4. Complete Addendum to Civil Case Cover Sheet form LACIV 109(Rev. 01/07), LASC Approved 03-04.
     5. Payment in full of the filing fee, unless fees have been waived.
    6. Signed order appointing the Guardian ad Litem, JC form FL-935, if the plaintiff or petitioner is a minor
       under 18 years of age, or if required by Court.

     7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
        m ust be served along with the summons and complaint, or other initiating pleading in the case.




LACIV 109(Rev. 01/07)                    CIVIL CASE COVER SHEET ADDENDUM                                                   LASC, rule 2.0
LASC Approved 03-04                          AND STATEMENT OF LOCATION                                                       Page 4 of 4
                                                                                                             Chung Decl Ex A - 017
    Case 2:22-cv-03249-RGK-E Document 1-3 Filed 05/12/22 Page 18 of 21 Page ID #:43
                                                                                    —   -           Reserved for Clerk's File Stamp
       '•       'SUPERIOR     COURT OF CALIFORNIA
                          COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
                                                                                                              FILED_
 Spring Street Courthouse                                                                          Supetit COM Of caiiroffia
 312 North Spring Street, Los Angeles, CA 90012                                                     oittIty Of Lot AOgOltit
                                                                                                         09/22020
                   NOTICE OF CASE ASSIGNMENT                                                limiR. Can*,Elvamigye Mite' (le& al Caw
                                                                                             BY:          R. Faii          DeplAy
                          UNLIMITED CIVIL CASE
                                                                       _
                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   20STCV36095

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                 ASSIGNED JUDGE              DEPT     ROOM                    ASSIGNED JUDGE                        DEPT          ROOM
   V        Edward B. Moreton               27




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 09/22/2020                                                          By R. Perez                                           ,Deputy Clerk
                 (Date)

LACIV 190(Rev 6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06                                                                                             Chung Decl Ex A - 018
     Case 2:22-cv-03249-RGK-E Document 1-3 Filed 05/12/22 Page 19 of 21 Page ID #:44

                                  INSTRUCTIONS FOR HANDLING UNLIMITED—CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as proVisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly_assigned-to-a-complex-judge-at-the-designated-complex-courthouse7Itthe case irfound not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190(Rev 6/18)          NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06                                                                                              Chung Decl Ex A - 019
Electronically FILED by Superior Court of California, County of Los Angeles on 03/07/2022 12:21 PM Sherri R. Carter, Executive Officer/Clerk of Court, by S. Lopez,Deputy Clerk
                      Case 2:22-cv-03249-RGK-E Document 1-3 Filed 05/12/22 Page 20 of 21 Page ID #:45
                                                                                                                                                                             POS-010
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                                      FOR COURT USE ONLY
       Daniel D. Geoulla, Esq. | SBN: 255800
       B&D Law Group, APLC
       10700 SANTA MONICA BLVD STE 200 LOS ANGELES, CA 904012432
      TELEPHONE NO.: (310) 424-5252 | FAX NO. (310) 492-5855 | E-MAIL ADDRESS (Optional):
       ATTORNEY FOR (Name): Plaintiff:



     Los Angeles Supieror Court
             STREET ADDRESS: 312     N Spring St
            MAILING ADDRESS:

            CITY AND ZIP CODE: Los   Angeles, CA 90012
                BRANCH NAME: Spring      Street Courthouse
         PLAINTIFF: Angel Cirilo                                                                                               CASE NUMBER:


      DEFENDANT: NBCUniversal Theme Park, et al.                                                                               20STCV36095

                                                                                                                               Ref. No. or File No.:
                                           PROOF OF SERVICE OF SUMMONS                                                                                    16680

   1. At the time of service I was at least 18 years of age and not a party to this action.
   2. I served copies of:

       a.       Summons
       b.       Complaint
       c.       Alternative Dispute Resolution (ADR) package
       d.       Civil Case Cover Sheet (served in complex cases only)
       e.       Cross-complaint
       f.       other (specify documents): Statement of Damages; Civil Case Cover Sheet; Civil Case Cover Sheet Addendum; Notice of
                Case Assignment Unlimted Civil Case;
   3. a. Party served (specify name of party as shown on documents served):
       Comcast Corporation

       b.       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
                item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
            John Montijo - CT Process Specialist
                   Age: 26- 30                Weight: 141-160 Lbs Hair: Black                      Sex: Male
                   Height: 5'7 - 6'0          Eyes:               Race: Latino

   4. Address where the party was served: CT Corporation System
                                                         330 N Brand Blvd Ste 700
                                                         Glendale, CA 91203-2336
   5. I served the party (check proper box)
      a.     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
             receive service of process for the party (1) on (date): 1/10/2022 (2) at (time): 12:50 PM

       b.       by substituted service. On (date): at (time): I left the documents listed in item 2 with or
                in the presence of (name and title or relationship to person indicated in item 3b):

                (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                           person to be served. I informed him of her of the general nature of the papers.

                (2)        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                           abode of the party. I informed him or her of the general nature of the papers.

                (3)        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                           address of the person to be served, other than a United States Postal Service post office box. I informed him of
                           her of the general nature of the papers.

                (4)        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                           place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                           (date): from (city):                                                 or   a declaration of mailing is attached.

                (5)        I attach a declaration of diligence stating actions taken first to attempt personal service.
                                                                                                                                                                               Page 1 of 2
   Form Approved for Mandatory Use                                                                                                                        Code of Civil Procedure, § 417.10
   Judicial Council of California                                PROOF OF SERVICE OF SUMMONS                                                           Chung Decl Ex A - 020
   POS-010 [Rev. January 1, 2007]                                                                                                                              POS010-1/238704D
                Case Angel
          PETITIONER: 2:22-cv-03249-RGK-E
                           Cirilo                               Document 1-3 Filed 05/12/22 PageCASE
                                                                                                  21 NUMBER:
                                                                                                     of 21 Page ID #:46
                                                                                                                        20STCV36095
      RESPONDENT: NBCUniversal Theme Park, et al.


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                         (2) from (city):
                (3)     with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):


           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.         On behalf of (specify): Comcast Corporation
                under the following Code of Civil Procedure section:
                                   416.10 (corporation)                         415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                 416.60 (minor)
                                   416.30 (joint stock company/association)     416.70 (ward or conservatee)
                                   416.40 (association or partnership)          416.90 (authorized person)
                                   416.50 (public entity)                       415.46 (occupant)
                                                                                other:

7. Person who served papers
   a. Name: V. ENRIQUE MENDEZ - DDS Legal Support
   b. Address: 2900 Bristol Street Costa Mesa, CA 92626
   c. Telephone number: (714) 662-5555
   d. The fee for service was: $ 39.00
   e. I am:

          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)       registered California process server:
                  (i)      owner                  employee            independent contractor.
                  (ii) Registration No.: 3428
                  (iii) County: LOS ANGELES

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 1/12/2022
                DDS Legal Support
                2900 Bristol Street
                Costa Mesa, CA 92626
                (714) 662-5555
                www.ddslegal.com



                              V. ENRIQUE MENDEZ
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)




POS-010 [Rev January 1, 2007]                                                                                                             Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-010/238704D

                                                                                                                       Chung Decl Ex A - 021
